            Case 1:18-cv-02610-TJK Document 16 Filed 11/15/18 Page 1 of 4



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CABLE NEWS NETWORK, INC. and ABILIO                        :
JAMES ACOSTA,                                              :
                                                           :      CIVIL ACTION
                                        Plaintiffs,        :
                                                           :
                           v.                              :      NO. 1:18-CV-02610-TJK
                                                           :
DONALD J. TRUMP, in his official capacity as               :
President of the United States; JOHN F. KELLY, in          :
his official capacity as Chief of Staff to the President   :
of the United States; WILLIAM SHINE, in his                :
official capacity as Deputy Chief of Staff to the          :
President of the United States; SARAH                      :
HUCKABEE SANDERS, in her official capacity as              :
Press Secretary to the President of the United States;     :
the UNITED STATES SECRET SERVICE;                          :
RANDOLPH ALLES, in his official capacity as                :
Director of the United States Secret Service; and          :
JOHN DOE, Secret Service Agent, in his official            :
Capacity,                                                  :
                                                           :
                                       Defendants          :

          MOTION FOR LEAVE TO FILE BRIEF OF THE WHITE HOUSE
      CORRESPONDENTS’ ASSOCIATION AS AMICUS CURIAE SUPPORTING
     PLAINTIFFS’ MOTIONS FOR A TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

               Proposed amicus curiae, the White House Correspondents’ Association (the

“WHCA”), respectfully moves this Court under Local Civil Rule 7(o) for leave to file the

attached amicus curiae brief in support of Plaintiffs’ Motions for a Temporary Restraining Order

and Preliminary Injunction. The proposed brief is attached to this Motion.

       1.      This Court “has broad discretion to permit . . . participat[ion] [of] amici curiae,”

and amicus participation is appropriate where amici have “relevant expertise and a stated

concern for the issues at stake in [the] case.” Dist. of Columbia v. Potomac Elec. Power Co., 826
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F. Supp. 2d 227, 237 (D.D.C. 2011). An amicus brief should “’be allowed when . . . the amicus

has unique information or perspective that can help the court beyond the help that the lawyers for

the parties are able to provide.’” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003)

(quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

       2.      The WHCA is a nonprofit association, incorporated in the District of Columbia,

whose primary mission is to advocate for the newsgathering rights of the press on behalf of

journalists who cover the White House and on behalf of the American public who rely on the

press to provide information about the activities of their elected officials. Founded over 100

years ago, in February 1914, the WHCA has consistently and effectively worked to ensure that

the men and women who gather and report the news from the White House have the ability to

seek answers from powerful officials, up to and including the President of the United States.

The WHCA is comprised of hundreds of members from print, television, radio, and online

journalism.

       3.      This brief is intended to highlight for the Court the dangerous precedent that

would be established if this Court accepts Defendants’ arguments and denies Plaintiffs the relief

that they seek. The WHCA is uniquely positioned to provide this Court with information and

insight based on its experience and mission representing journalists who cover the White House.

       4.      WHCA is filing now because the President set forth this extraordinary claim of

discretion in yesterday’s opposition papers, and the Court has announced that it intends to rule on

the pending temporary restraining order motion at 3:00 p.m. today.

Dated: November 15, 2018                            Respectfully submitted,

                                                    /s/ George A. Lehner
                                                    George A. Lehner (D.C. Bar. No. 281949)
                                                    PEPPER HAMILTON LLP
                                                    Hamilton Square

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                                  Association




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                              CERTIFICATE OF SERVICE

             I hereby certify that on November 15, 2018 a true and correct copy of the

foregoing MOTION FOR LEAVE TO FILE BRIEF OF THE WHITE HOUSE

CORRESPONDENTS’ ASSOCIATION AS AMICUS CURIAE SUPPORTING PLAINTIFFS’

MOTIONS FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY

INJUNCTION, and accompanying exhibits, were served via the ECF system upon all counsel of

record.




                                          /s/ George A. Lehner
                                          George A. Lehner
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CABLE NEWS NETWORK, INC. and ABILIO                        :
JAMES ACOSTA,                                              :
                                                           :   CIVIL ACTION
                                        Plaintiffs,        :
                                                           :
                           v.                              :   NO. 1:18-CV-02610-TJK
                                                           :
DONALD J. TRUMP, in his official capacity as               :
President of the United States; JOHN F. KELLY, in          :
his official capacity as Chief of Staff to the President   :
of the United States; WILLIAM SHINE, in his                :
official capacity as Deputy Chief of Staff to the          :
President of the United States; SARAH                      :
HUCKABEE SANDERS, in her official capacity as              :
Press Secretary to the President of the United States;     :
the UNITED STATES SECRET SERVICE;                          :
RANDOLPH ALLES, in his official capacity as                :
Director of the United States Secret Service; and          :
JOHN DOE, Secret Service Agent, in his official            :
Capacity,                                                  :
                                                           :
                                       Defendants          :

 BRIEF OF THE WHITE HOUSE CORRESPONDENTS’ ASSOCIATION AS AMICUS
     CURIAE SUPPORTING PLAINTIFFS’ MOTIONS FOR A TEMPORARY
          RESTRAINING ORDER AND PRELIMINARY INJUNCTION

I.     INTEREST OF AMICUS CURIAE

               Amicus curiae is the White House Correspondents’ Association ( “WHCA”), a

nonprofit association incorporated in the District of Columbia, whose primary mission is to

advocate for the newsgathering rights of the press on behalf of journalists who cover the White

House and on behalf of the Americans who rely on the press to provide information about the

activities of their elected officials. Founded over 100 years ago, in February 1914, the WHCA

has consistently and effectively worked to ensure that the men and women who gather and report

the news from the White House have the ability to seek answers from powerful officials, up to


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and including the President of the United States. The WHCA has 403 regular members who

represent over 100 different print, television, radio, and online journalism outlets and 187

associate members.

                The WHCA was founded on the belief, as expressed by the country’s Founders

and enshrined in the First Amendment, that an independent news media is vital to the health of

the republic. The ability of the press to question vigorously and regularly elected officials and to

report freely on the activities of these officials is fundamental to our democracy. When

government officials—including the President of the United States here—attempt to restrict,

curtail, intimidate, or silence the press in its news gathering activities, the rights of the people

and the press, as guaranteed by the First Amendment, are infringed, and our democratic form of

government is placed in jeopardy.

                Plaintiffs in these proceedings, supported by Amicus Reporters Committee for

Freedom of the Press, have outlined in compelling detail the constitutional violations visited

caused by the President’s actions. Amicus WHCA submits this brief to highlight the extent and

breadth of the danger posed to all journalists, and to the American public, if the President’s

assertion of unbridled authority both to pick and choose but also to affirmatively exclude those

journalists who cover him is permitted to stand. WHCA is filing now because the President set

forth this extraordinary claim of discretion in yesterday’s opposition papers, and the Court has

announced that it intends to rule on the pending temporary restraining order motion at 3:00 p.m.

today.


II.      ARGUMENT

                The President of the United States maintains that he has absolute, unbridled

discretion to decide who can report from inside the White House. Under the President’s view of



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the law, if he does not like the content of an article that a journalist writes about him, he can deny

that journalist access to the White House. If he does not like the viewpoint that a journalist

expresses about him, he can deny that journalist access to the White House. If he does not like a

question that a journalist asks him, he can deny that journalist access to the White. If he decides

that a journalist’s story is “fake news,” he can deny that journalist access to the White House. In

fact, according to the President, if he alone considers a journalist a “bad” or a “rude” person, he

can deny that journalist access to the White House. And he can do so without providing that

journalist with any process whatsoever.

               The President’s view of the law is wrong. While he may have absolute discretion

to exclude a member of the press from his Trump Tower residence, he does not have absolute

discretion to exclude a member of the press from the White House. After all, in the words of the

National Park Service, “the White House stands as a symbol of democracy . . . serv[ing] not only

as the seat of the executive branch of government of the United States of America, but also as an

iconic place for civil discourse.” See President’s Park (White House), National Park Service,

https://www.nps.gov/whho/index.htm. The White House is the People’s House, and the First

Amendment does not permit the President to pick and choose which journalists do—and do

not—cover him there. See The People’s House | The White House: Inside Story, PBS,

https://www.pbs.org/video/white-house-inside-story-peoples-house/. Far from it, the First

Amendment requires a compelling government interest—not whim, prejudice, or dislike—for the

President to strip a journalist of his or her ability to report from the White House. WHCA urges

the Court to grant CNN the relief that it seeks and, in doing so, to roundly reject the President’s

dangerous legal position.




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       A.      The President does not have discretion to pick and choose who reports
               on him from the White House.

               The President’s claim that he has absolute discretion to decide which journalists

have access to the White House is foreclosed by Sherrill v. Knight, 569 F.2d 124 (D.C. Cir.

1977). In Sherrill, the court made clear that, regardless of whether the President has discretion to

select those journalists to whom he grants interviews, a journalist’s First Amendment rights are

implicated by the denial of a White House press pass and a President therefore is not free to deny

press passes as he or she sees fit. See id. at 129 (explaining that “arbitrary or content-based

criteria for press pass issuance are prohibited under the first amendment” and then discussing

other “first amendment considerations” raised by press pass denial); id. at 130 (“[T]he interest of

a bona fide Washington correspondent in obtaining a White House press pass is protected by the

first amendment.”). As the D.C. Circuit put it, “White House press facilities having been made

publicly available as a source of information for newsmen, the protection afforded

newsgathering under the first amendment guarantee of freedom of the press requires that this

access not be denied arbitrarily or for less than compelling reasons.” Id. at 129 (internal citations

omitted). Indeed, the court stressed, “[n]ot only newsmen and the publications for which they

write, but also the public at large have an interest protected by the first amendment in assuring

that restrictions on newsgathering be no more arduous than necessary, and that individual

newsmen not be arbitrarily excluded from sources of information.” Id. at 129-30. The court

then unequivocally held that, “[g]iven these important first amendment rights implicated by

refusal to grant White House press passes to bona fide Washington journalists, such refusal must

be based on a compelling government interest.” Id. at 130.

               In addition to being at odds with binding First Amendment precedent, the

President’s legal position threatens the free flow of information about our elected officials that is



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so crucial to the functioning of our democratic system. As explained by Todd J. Gillman—a

WHCA Board Member and Washington Bureau Chief for The Dallas Morning News—in his

Declaration attached to CNN’s injunction papers, “[a] hard pass is critical for anyone who

reports regularly on the White House.” ECF No. 2-5, Gillman Decl. ¶ 9. It is no exaggeration to

say that, without one, a White House correspondent simply cannot do his or her job effectively.

For example, the ability of a White House correspondent to interact in real time with White

House officials, including the President, as an important national emergency or crisis unfolds,

and accurately report on such an event, would be impossible without a hard pass. Moreover, Mr.

Acosta was not just denied a hard pass—he was denied White House access altogether.

               Beyond the impact that a denial of a hard pass has on the individual plaintiffs in

this case, the Court cannot ignore the effect that a decision ratifying the President’s sweeping

claim of discretion would have on other journalists and news outlets that regularly cover the

White House. Simply stated, if the President were to have the absolute discretion to strip a

correspondent of a hard pass, the chilling effect would be severe and the First Amendment

protections afforded journalists to gather and report news on the activities on the President would

be largely eviscerated. White House correspondents would have to choose between avoiding

reporting or questioning that could upset the President, on the one hand, and risking the loss of a

hard pass—a requirement to do their job—on the other hand. Forcing those who cover the

President to make such an untenable choice is not something that the First Amendment can

tolerate. Nor can the First Amendment—or our democracy as a whole, for that matter—tolerate

yielding to the President the power to effectively choose who does and who does not cover him.




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       B.      A journalist must not be denied a White House hard pass without due
               process.

               Given how important a White House hard pass is to the work of a White House

correspondent, and given the First Amendment interests that are implicated, a journalist must not

be denied a hard pass without due process. See Sherrill, 569 F.2d at 130-31 (“This first

amendment interest [in a White House press pass] undoubtedly qualifies as liberty which may

not be denied without due process of law under the fifth amendment.”); id. at 131 n.22 (“A

related and perhaps equally compelling property interest [implicated by a White House press

pass] may also be said to require the procedural protections of the fifth amendment.”). To pass

constitutional muster, the process provided must include, at a minimum, “notice of the factual

bases for denial, an opportunity for the applicant to respond to these, and a final written

statement of the reasons for denial.” Id. at 130. This level of process is necessary to help ensure

that any denial actually satisfies Sherrill’s substantive requirements—namely, that the denial is

not “based on arbitrary or less than compelling reasons.” Id.

               But where, as here, the government’s stated rationale for the denial of a hard pass

is ever-shifting, any supposed process provided is essentially meaningless. See Jason Schwartz,

‘The Government’s Story Keeps Changing’: CNN Seen as Likely to Prevail in White House Fight

(Nov. 13, 2018, 7:39 PM), https://www.politico.com/story/2018/11/13/cnn-white-house-lawsuit-

jim-acosta-988160 (referring to White House’s justifications for revocation as “shifting”). How

can a White House correspondent “respond” to a “factual basis” that changes daily or is

supported by an altered video? And in such a situation, how can a White House correspondent

trust that any “final written statement of the reasons for denial” that he or she receives contains

the actual reasons for the denial? Indeed, far from dispelling any concerns that the denial of Mr.

Acosta’s hard pass was “based on arbitrary or less than compelling reasons,” the supposed



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process that was provided here—again, a series of shifting explanations—only heightens those

concerns.


III.   CONCLUSION

               For all of these reasons, WHCA requests that the Court grant CNN the relief that

it seeks and reject the President’s dangerous legal position that he has absolute discretion to

decide which journalists report from inside the White House.

Dated: November 15, 2018                           Respectfully submitted,

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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CABLE NEWS NETWORK, INC. and ABILIO                        :
JAMES ACOSTA,                                              :
                                                           :    CIVIL ACTION
                                        Plaintiffs,        :
                                                           :
                           v.                              :    NO. 1:18-CV-02610-TJK
                                                           :
DONALD J. TRUMP, in his official capacity as               :
President of the United States; JOHN F. KELLY, in          :
his official capacity as Chief of Staff to the President   :
of the United States; WILLIAM SHINE, in his                :
official capacity as Deputy Chief of Staff to the          :
President of the United States; SARAH                      :
HUCKABEE SANDERS, in her official capacity as              :
Press Secretary to the President of the United States;     :
the UNITED STATES SECRET SERVICE;                          :
RANDOLPH ALLES, in his official capacity as                :
Director of the United States Secret Service; and          :
JOHN DOE, Secret Service Agent, in his official            :
Capacity,                                                  :
                                                           :
                                       Defendants          :

                                      [PROPOSED] ORDER

               Upon consideration of the Motion for Leave to File Brief of the White House

Correspondents’ Association as Amicus Curiae Supporting Plaintiffs’ Motions for a Temporary

Restraining Order and Preliminary Injunction, it is hereby ORDERED that the Motion is

GRANTED and that the proposed Brief may be filed in the above-captioned action.

                                                       BY THE COURT:


                                                       _________________________________
                                                       HONORABLE TIMOTHY J. KELLY
